                  Case 2:13-cr-00332-DAD Document 58 Filed 06/10/15 Page 1 of 3


 1 BENJAMIN B. WAGNER
   United States Attorney
 2 TODD A. PICKLES
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 2:13-CR-332 GEB

12                                   Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                           TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                            v.                           [PROPOSED] FINDINGS AND ORDER

14   TINA MARIE BINI, and
     MATTHEW LEE BOYLE,
15
                                     Defendants.
16

17
                                                   STIPULATION
18
             Plaintiff United States of America, by and through its counsel of record, and defendants Tina
19
     Marie Bini and Matthew Lee Boyle, by and through their counsel of record, hereby stipulate as follows:
20
             1.       By previous order, this matter was for a status and change of plea hearing on June 12,
21
     2015.
22
             2.       By this stipulation, defendants now move to continue the status and change of plea
23
     hearing until June 19, 2015 and to exclude time between June 12, 2015 and June 19, 2015 under Local
24
     Code T4. The United States does not oppose this request.
25
             3.       The parties agree and stipulate, and request that the Court find the following:
26
                      a)     The United States has represented that the discovery associated with this case
27
     includes investigative reports and wiretap applications in electronic form constituting approximately
28

      Stipulation and Proposed Order re: Continuance of    1
      Status Hearing and Exclusion of Time
30
                 Case 2:13-cr-00332-DAD Document 58 Filed 06/10/15 Page 2 of 3


 1 1600 pages of documents. The United States also represents that the discovery includes approximately

 2 20 CDs of audio recordings, including intercepted communications, and transcripts and line reports. All

 3 of this discovery has been produced directly to counsel.

 4                   b)     Counsel for defendants desire additional time to consult with their clients in order

 5 to finalize the terms of plea agreements which have been provided by the United States.

 6                   c)     Counsel for defendants believe that failure to grant the above-requested

 7 continuance would deny them the reasonable time necessary for effective preparation, taking into

 8 account the exercise of due diligence.

 9                   d)     The United States does not object to the continuance.

10                   e)     Based on the above-stated findings, the ends of justice served by continuing the

11 case as requested outweigh the interest of the public and the defendant in a trial within the original date

12 prescribed by the Speedy Trial Act.

13                   f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

14 et seq., within which trial must commence, the time period of June 12, 2015 through June 19, 2015,

15 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it

16 results from a continuance granted by the Court at defendants’ request on the basis of the Court’s

17 finding that the ends of justice served by taking such action outweigh the best interest of the public and

18 the defendant in a speedy trial.

19          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

20 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

21 must commence.

22 Dated: June 9, 2015

23

24

25

26

27

28

      Stipulation and Proposed Order re: Continuance of    2
      Status Hearing and Exclusion of Time
30
             Case 2:13-cr-00332-DAD Document 58 Filed 06/10/15 Page 3 of 3


 1        IT IS SO STIPULATED.

 2 Dated: June 9, 2015                                       BENJAMIN B. WAGNER
                                                             United States Attorney
 3
                                                             /s/ Todd A. Pickles
 4                                                           TODD A. PICKLES
                                                             Assistant United States Attorney
 5

 6 Dated: June 9, 2015                                       /s/ Todd A. Pickles for
                                                             CANDACE FRY, ESQ.
 7                                                           Counsel for Defendant Tina Bini

 8

 9 Dated: June 9, 2015                                       /s/ Todd A. Pickles for
                                                             JAY GREINER, ESQ.
10                                                           Counsel for Defendant Matthew Boyle

11

12

13                                                   ORDER

14        IT IS SO FOUND AND ORDERED this _____ day of ___________, 2015

15

16
                                                             HONORABLE GARLAND E. BURRELL, JR.
17
                                                             UNITED STATES DISTRICT JUDGE
18

19

20

21

22

23

24

25

26

27

28

     Stipulation and Proposed Order re: Continuance of   3
     Status Hearing and Exclusion of Time
30
